Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 1 of 39




                                        •                  •
    Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 2 of 39




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________

RAYMOND A. CARRUTHERS,                                             AMENDED COMPLAINT

                      Plaintiff,
                                                                   Civil Action Number:
       v.                                                          6:20-CV-399 (FJS/TWD)

KIMBERLY COLTON, individually;
                                                                           JURY TRIAL
                                                                           DEMANDED


                  Defendant.
_________________________________________

Plaintiff RAYMOND A. CARRUTHERS by and through his attorneys David Longeretta, Esq.

and Zachary C. Oren, Esq. as for his Amended Complaint against Defendant, respectfully alleges

as follows:

                                   JURISDICTION AND VENUE

   1. This action is brought in part pursuant to §§ 1983 and 1988 of Title 42 of the United

       States Code and the Fifth, Fourteenth and Sixth Amendments to the United States

       Constitution. This action is for money damages to redress the deprivation by the

       Defendant of rights secured to the Plaintiff by the Constitution and laws of the Untied

       States and State of New York. Jurisdiction of this Court is invoked under provisions of

       28 U.S.C. §§ 1331, 1343(3), and 1367 (A) and the aforementioned statutory and

       constitutional provisions.

   2. The facts of which this action arises out of occurred within the United States District

       Court for the Northern District of New York.

                                           PARTIES




                                                1
  Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 3 of 39




 3. Plaintiff, RAYMOND A. CARRUTHERS, during all relevant times herein was and is

      an adult and a citizen of the United States of America and residing in the State of New

      York.

 4. New York State, during all relevant times herein by virtue of its law operates a state

      police force called the New York State Police, who maintains a state police barracks at

      263 Carder Lane Road, Frankfort, New York 13340 (hereafter “Schuyler barracks” or

      “the station”) and said state and barracks are located in the Northern District of New

      York and employed the above captioned Defendant at all relevant times herein.

 5. Defendant KIMBERLY COLTON, during all relevant times herein is or was a duly

      appointed Trooper for the New York State Police and charged with caring out her lawful

      duties and responsibilities in accordance with the law. Defendant KIMBERLY

      COLTON is sued as an individual. Upon information and belief KIMBERLY

      COLTON’S professional address was the Schuyler barracks.

 6. Defendant KIMBERLY COLTON, has been a State Trooper for over eighteen years

      and during four years of her service she received the Trooper of the Year award for her

      driving while intoxicated (hereafter “DWI”) arrests.



              AS AND FOR A FIRST CAUSE OF ACTION
A FEDERAL CLAIM OF FABRICATION OF EVIDENCE IN VIOLATION OF THE
 FOURTEENTH, FIFTH AND SIXTH AMENDMENTS BROUGHT UNDER § 1983
AGAINST DEFENDANT KIMBERLY COLTON, IN HER INDIVIDUAL CAPACITY

 7.   Plaintiff at approximately September 4, 2017 at 9:30 pm was operating his vehicle on

      interstate 90.

 8. Due to it being dark Plaintiff was driving his vehicle slowly as he has a hard time seeing

      at night and it was cloudy.



                                               2
 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 4 of 39




9. Defendant Colton conducted a motor vehicle stop of the vehicle Plaintiff was driving.

10. Defendant Colton asked Plaintiff for his license and registration which he duly complied

   with the request.


11. Plaintiff did not exhibit glassy eyes during the stop.


12. Plaintiff was alert and responsive during the stop.


13. At the time of the stop Plaintiff believed that he was not free to leave.


14. At the time of the stop Plaintiff was not free to leave.

15. During said stop Defendant Colton attempted to administer four field sobriety tests, only

   three of which are standardized.

16. Specifically, those tests were “Gaze Nystagmus”, walk and turn, one leg stand and

   Rhomberg.

17. However, during the suppression hearing in Utica City Court Defendant Colton could

   not testify to which “Gaze Nystagmus” test she applied, as there are different types.

18. Furthermore, during the suppression hearing in Utica City Court Defendant Colton could

   not define what “Gaze Nystagmus” meant.

19. Specifically, Defendant Colton was trained on the National Highway Traffic Safety

   Administration Student Manual (hereafter “NHTSA Manual”) in the police academy in

   2000 which is the only DWI training she has received and has not received any in-service

   nor refresher training courses.

20. Although Defendant Colton could not testify to what “Gaze Nystagmus” test she was

   applying, but it appears based on her testimony she was attempting to apply the

   “Horizontal Gaze Nystagmus” test [hereafter “HGN”].


                                              3
     Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 5 of 39




    21. Defendant Colton incorrectly and inappropriately applied the HGN according to the

        NHTSA Manual.

    22. First Defendant Colton inappropriately conducted the HGN test because when she began

        the test Plaintiff did not exhibit equal tracking 1. As such the NHTSA Manual dictates

        that the test cannot be used because the suspect could be suffering from disability and/or

        injury.

    23. However, instead of following the NHTSA Manual, Defendant Colton failed Plaintiff on

        the HGN on this basis.

    24. Moreover, Defendant Colton incorrectly conducted the HGN when she held the stimulus

        six inches away from Plaintiff’s face when the NHTSA requires that the stimulus be held

        twelve to fifteen inches from the suspect’s face.

    25. As for the walk and turn standard field sobriety test Defendant Colton testified, on direct

        examination by the Assistant District Attorney, as follows, at the suppression hearing:

                  Q. Okay. And so based on your observations and what you just indicated
                  to the court did the Defendant pass or fail that test?

                  A. Failed the test.

                  Q. And are there clues in which you are following to determine the
                  Defendant passed or failed that test?

                  A. That is Correct.

                  Q. And do you know all of the clues for the walk and turn test? Do you
                  know what the clues are for the walk and turn test?

                  A. Each step has to be heel to toe, understand the instructions given with a
                  short, choppy turn.



1
 The HGN is a standard field sobriety test which measures the involuntarily movements in a suspect’s eyes caused
by alcoholic intoxication. The term “equal tracking” refers to the ability of the eyes to track together when the
subject attempts to follow an object moving side to side.


                                                        4
 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 6 of 39




           Q. Okay. Do you know what the total amount of clues for the walk and
           turn test?

           A: Eight.

           Q: Eight. Can you list those eight clues?

           A: Not exactly, no.


26. As for the walk and turn standard field sobriety test Defendant Colton testified, on cross

   examination by the defense counsel, as follows at the suppression hearing:

           Q. Trooper, tell me the clues, the exact clues for the HGN. I’m sorry, for the walk
           and turn.

           A. The exact clues. Every step needs to be heel to toe. When he gets to the turn it
           needs to be a short, choppy turn as demonstrated to him prior to the test begins.

           Q. So there’s three clues.

           A. There’s three clues?

           Q. I’m asking you. Is there three clues?

           A. He failed all of the clues.

           Q. Okay. Again I am not going to let you get away with just giving generalities. I
           ask you specifically if you know the eight clues of the walk and turn.

           A. Okay, I can tell you that he needs to have the heel to toe.

           Q. That’s one.

           A. He missed the heel to toe on every step.

           Q. That one.

           A. The short, choppy turn.

           Q. Two.

           A. And he raise his arms up to his side, from his side.




                                             5
 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 7 of 39




           Q. Three. Give me another five.

           A. That’s the extent of what I can provide you today.

           Q. Give me the other 5.

           A. That’s the extent of what I can provide you for the information today. He
           performed the test, he did not do the test as described and he was marked as
           failed.

           Q. Okay, so what studies have they done and published that shows the way you
           did your test, is there any?

           A. That’s what I was trained to do in the Academy. I demonstrated it exactly the
           way I was trained to do in the Academy.

           Q. I asked you to tell me the clues. You told me there was eight clues. You told
           the District Attorney there’s eight clues. Tell me the eight clues. So far I’ve
           heard three. What are the other five clues that you look for? You said on your
           paperwork under the penalties of perjury that my client had eight clues on the
           walk and turn?

           A. That is correct.

           Q. Tell me the eight clues.

           A. I can’t. (emphasis added).


27. As for the remaining standard field sobriety test, the one leg stand Defendant Colton
    testified, on cross examination by the defense counsel as follows at the suppression
    hearing:

       Q. So the next one. Tell me about the one leg stand. How many clues are there?

       A. Four.

       Q. What are the clues?

       A. Okay. If he can hold his foot up, as described. His arms need to stay to his sides.
       We also observe for his front to back movement and side movement to remain stable.

       Q. Okay. What else?

       A. If he puts his foot down it’s a fail.




                                              6
 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 8 of 39




       Q. You already said that, hold his foot up. That’s three, what’s four?

       A. I explained to you what tests, how we perform the tests, which is a fail. That’s all
       the information I can provide you with.

       Q. Under penalty’s perjury you singed this document that says that my client had
       four clues. Tell me what the four clues are that you observed.

       A. I observed him unable to hold his foot up, put his foot down on four separate
       occasions, unable to keep his arms to his sides. That’s the information I have as to
       why he failed that test.

28. The only remaining field test Defendant Colton preformed on Plaintiff was the Romberg

   test where they ask the suspect to estimate thirty seconds. However, Plaintiff testified on

   cross examination by Defense Counsel that the Romberg test is not a standardize field

   sobriety test.

29. After completing the deficient field sobriety tests, as factually alleged above, Defendant

   Colton asked Plaintiff to take a field breathalyzer which he refused, as he was entitled to

   do so as Defendant Colton had failed to establish the required probable cause to do so

   because of the defective field sobriety tests.

30. Therefore, Defendant Colton placed Plaintiff under arrest for common law DWI a

   violation of New York Vehicular and Traffic Law § 1192 (3).

31. Additionally, Plaintiff readily believes he passed these field sobriety tests, Defendant

   Colton’s instructions were difficult to understand and the area where the tests performed

   was not level.

32. Plaintiff was placed in handcuffs, against his will and was cognizant of the detainment.

33. According to the Computer Aided Dispatch notes, after conducting the field sobriety tests

   and arresting Plaintiff, at 9:49:57 pm the results of Plaintiff’s background check revealed

   that he only had one prior driver license suspension for failure to answer a court




                                             7
 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 9 of 39




   summons and had never had his driver’s license suspended for any violations of the DWI

   sections of the New York’s Vehicular and Traffic Law. See, §§ 1192 and 1194.

34. Additionally, before Plaintiff had informed Defendant Colton that he wanted a blood test,

   she said that Plaintiff would be processed at the station and then he would be free to go.

35. Defendant Colton transported Plaintiff to the State Police barracks in Schuyler, New

   York.

36. Upon arriving at the station, upon information and belief Defendant Colton completed the

   CPL § 710.30 Notice. A true copy is attached hereto as Exhibit A.

37. Importantly, Defendant Colton recorded the conversation at the arrest scene and did not

   check either of the two boxes stating “Had Prior Alcohol Convictions” or “Is Currently

   DWl Susp/Revoc”.

38. Plaintiff was subject to a breathalyzer test that generated a result of 0.22% blood alcohol

   content.

39. Plaintiff when hearing the results of the breathalyzer test could not believe they were

   accurate so he asked to talk to his attorney, John Leonard, Esq., whom he called.

40. During the call Defendant Colton, also spoke with Attorney Leonard, where he informed

   her not to speak to his client about the arrest and Defendant Colton, testified she

   acquiesced to the request.

41. During said call Defendant Colton, also said to Attorney Leonard that Plaintiff would be

   released unless there was a felony DUI arrest.

42. Additionally, according to Defendant Colton’s own CPL § 710.30 Notice and testimony

   at the suppression hearing she did not have any conversations with Plaintiff about his

   arrest at the station.




                                             8
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 10 of 39




43. Additionally, during the call Attorney Leonard informed the Defendant Colton that he

   was sending a phlebotomist to the station to collect Plaintiff’s blood due to the unreliable

   breathalyzer test.

44. Defendant Colton testified at the suppression hearing that a phlebotomist did appear at

   the station to collect Plaintiff’s blood for future testing.

45. Upon information and belief Defendant Colton then, under penalty of perjury, filed a

   false felony complaint to prevent Plaintiff from being released and getting his own

   independent test of his blood.

46. The felony complaint is attached hereto as Exhibit B. Additionally it states, in part;

           “Further factual allegations in support of the charges are set forth in the
           Supporting Deposition and DWI Bill of Particulars and 710.30 Notice
           filed with the court herewith or heretofore.

           The allegations that the defendant has previously been convicted of a New
           York State Vehicle and Traffic Law Section 1192 offense and/or that the
           defendant’s license or operating privilege in New York State has been
           suspended/revoked is based on the following:

                 [*] A computer check with the New York State Department of
           Motor Vehicles records access through the NYSPIN computer system;

                   [*] The defendant’s oral admission to the previous conviction
           and/or suspension/revocation of license or operating privilege;…”


47. However, as factually plead above Defendant Colton testified she never talked to

   Plaintiff about any such suspensions and the Defendant Colton’s own CPL § 710.30

   Notice fails to state any.

48. Furthermore, Defendant Colton testified during the suppression hearing she relied on the

   Department of Motor Vehicles license search for Plaintiff to establish his alleged prior

   driver’s license suspension.




                                               9
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 11 of 39




49. However, a search of Plaintiff’s driving records with the Department of Motor Vehicles

      revealed no such suspensions.

50. In addition to the felony complaint Defendant Colton filed against Plaintiff, she filed the

      other accusatory instruments against Plaintiff which are depicted in Exhibit C.

51. Plaintiff was then transported to the Utica Police Department to be held in lock-up.

52. Plaintiff was arraigned on the aforementioned charges and bailed out the next day.

53.

54. Plaintiff had to retain Counsel to represent him on the aforementioned charges.

55. As a result of Defendant’s intentional unconstitutional act of fabricating evidence against

      Plaintiff, Plaintiff lost his drivers license due to the prompt suspension law of New York

      State until the charges were dismissed.

56. The aforementioned suspension as a result of the aforementioned charges restrained

      Plaintiff’s ability to travel freely constituting a seizure of his person.

57. Plaintiff did appear in court ten times in connection with this criminal prosecution.

58. At all relevant times herein, Plaintiff suffered a liberty restraint on his constitutional

      rights due to the intentional acts and/or omissions by Defendant.

59. At all relevant times herein, all named Defendant directly participated in the initiation

      and continuation of criminal proceedings against Plaintiff.

60. The above mention acts were an unconstitutional seizure depriving Plaintiff of the use

      and enjoyment of his persons, papers, and effects in violation of the United States

      Constitution.

61. The above mentioned acts deprived Plaintiff of Constitutionally protected liberty

      interests.




                                                 10
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 12 of 39




62. As a result of the aforementioned criminal prosecution Plaintiff was seized.

63. The above mentioned acts caused Plaintiff to suffer a harm of Constitutional proportions.

64. At all relevant times herein, Defendant fabricated evidence against Plaintiff in bad faith

   by maliciously, willfully, intentionally, lying under oath in her police reports and

   accusatory instruments to create probable cause.

65. At all relevant times herein, Defendant directly participated in the initiation and

   continuation of criminal proceedings against Plaintiff.

66. The said charges and subsequent prosecution were not supported by probable cause.

67. The said charges and subsequent prosecution were not supported by arguable probable

   cause.

68. Defendant intentionally filed a fabricated the Supporting Deposition/DWI Bill of

   Particulars, a true copy of which is attached hereto as Exhibit F.

69. The Utica City Court found there was articulable/reasonable suspicion for the vehicle

   stop, but there was no probable cause for the subsequent DUI investigation and

   suppressed all of the evidence therein. A true copy of the Utica City Court Decision and

   Order published September 18, 2018 is attached hereto as Exhibit D.

70. On or about October 5, 2018 Plaintiff plead guilty to the remaining unsafe lane change

   charge and the remainder of the charges were dismissed. A true copy of the guilty plea to

   the unsafe lane change is attached hereto as Exhibit E.

71. The aforementioned dismissal was a termination in Plaintiff’s favor for purposes of a

   fabrication of evidence claim.

72. The aforementioned criminal prosecution, confinement and damages Plaintiff sustained

   as a result thereof, was proximately caused by the intentional acts of the Defendant.




                                             11
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 13 of 39




73. As factually pled above in the foregoing paragraphs, at all relevant times herein,

   Defendants was an investigating official – i.e. sworn New York State Police Trooper.

74. As factually plead and detailed in the foregoing paragraphs, Defendant fabricated

   evidence to support a DWI criminal prosecution as well as the evidence concerning

   Plaintiff’s sobriety.

75. As factually plead and detailed in the foregoing paragraphs, the nature of this fabricated

   evidence would influence a jury’s decision in a criminal trial because of the impeachment

   and/or probative (or lack thereof) value against Defendants, the evidence concerning

   Plaintiff’s sobriety and the fabricated felony complaint to prevent Plaintiff from gathering

   his own evidence in defense of his criminal case.

76. As factually plead and detailed in the foregoing paragraphs, Defendant forwarded this

   false information to prosecutors from the Oneida County District Attorney’s office, upon

   information and belief, including but not limited the following documents: Exhibit B –

   the felony complaint attached hereto, Exhibit C – the informations attached hereto, and

   Exhibit F - the Supporting Deposition/DWI Bill of Particulars.

77. As factually plead and detailed in the foregoing paragraphs, Plaintiff suffered numerous

   deprivations of liberty as a result of this fabricated evidence.

78. Defendants’ actions and/or inactions caused Plaintiff to suffer the harms complained of

   herein.




                                             12
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 14 of 39




79. Defendant actions where intentional and not a mistakes because as an experience state

   trooper for eighteen years, four years of which she was DWI trooper of the year, the

   following could not have been mistakes, but rather intentional fabrications :

       a. Stating that Plaintiff had glassy eyes in the Supporting Deposition/DWI Bill of

           Particulars when in fact he did not (See Exhibit F);

       b. Stating that Plaintiff had impaired motor coordination in the Supporting

           Deposition/DWI Bill of Particulars when he in fact did not (See Exhibit F);

       c. Stating that she correctly performed an HGN field test in the Supporting

           Deposition/DWI Bill of Particulars, when in fact she could not even define the

           term Gaze Nystagmus, state which Gaze Nystagmus test she performed, nor

           properly conduct the test but nevertheless stated that she observed six clues when

           she should not even be conducting the test (See Exhibit F).

       d. Stating that she observed all eight clues on the standard walk and turn field

           sobriety test in the Supporting Deposition/DWI Bill of Particulars but could only

           list three actual clues of the test on cross-examination (See Exhibit F);

       e. Stating that she observer all four cluse of the standard one leg stand field sobriety

           test in the Supporting Deposition/DWI Bill of Particulars but could not list all

           four clues of the test on cross-examination (see Exhibit F);

       f. Filing a false felony complaint (see Exhibit B) stating that Plaintiff’s computer

           check and verbal admission had prior DWI convictions or driver license

           suspensions which contradicted her prior CPL 710.30 notice (See Exhibit A) and

           prior Computer Aided Dispatch notes because Defendant only lodged the felony

           complaint upon learning that a phlebotomist was there to collect Plaintiff’s blood




                                            13
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 15 of 39




           and thus needed to fabricate a charge high enough to hold him so as to prevent the

           collection of Plaintiff’s blood by the independent phlebotomist; In fact, before

           Defendant knew that Plaintiff wanted a blood test she told Plaintiff and his

           attorney that he would be free to go;

       g. The Utica City Court which has the jurisdiction to find facts on a suppression

           hearing stated that following concerning Defendant’s testimony: “The testimony

           quoted above provides examples but does not adequately capture Colton’s

           equivocation, failure of memory, and lack of candor. Her testimony regarding

           probable cause was neither reliable nor credible. Her recall was selective and

           self-serving.” (See Exhibit D). Such a finding by the Utica City Court, who is the

           Court charged with making such a credibility determination found intentional

           culpability on behalf of the Defendant.

80. At all relevant times, based on the facts as pled above, Defendant intentionally fabricated

   evidence against Plaintiff in violation of his clearly established Fifth, Sixth, and

   Fourteenth Amendment rights and Plaintiff brings this claim under 42 USC § 1983 to

   remedy this Constitutional violation which caused conscious pain and suffering, attorneys

   fees, loss of employment, lost wages, lost benefits of employment, loss of driving

   privilege/license, emotional harm, mental anguish, loss of freedom, impound fees, towing

   fees, loss of liberty, loss of pursuit of happiness, loss of the use and enjoyment of his

   property, loss of enjoyment of hobbies, and loss of Fifth, Sixth, and Fourteenth

   Amendment rights.



WHEREFORE, Plaintiff demands judgment against Defendantfor as follows:




                                             14
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 16 of 39




           A. Monetary compensatory damages to be determined by a jury, including but

               not limited to, conscious pain and suffering, attorneys fees, loss of

               employment, lost wages, lost benefits of employment, loss of driving

               privileges/license, emotional harm, mental anguish, loss of freedom, impound

               fees, towing fees, loss of liberty, loss of pursuit of happiness, loss of the use

               and enjoyment of his property, loss of enjoyment of hobbies, and loss of Fifth,

               Sixth, and Fourteenth Amendment rights;

           B. Punitive damages to be determined by a jury;

           C. Attorneys fees as part of costs and the costs of this action pursuant to 42 USC

               § 1988;

           D. Such other and further relief as this Court determines to be just, fair,

               appropriate, and proper.

                                     JURY DEMAND

Plaintiff demands a jury trial of all claims stated herein.




                                              15
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 17 of 39




                                                Respectfully submitted,



Dated: ______ ____, 2022
                                                Zachary C. Oren, Esq.
                                                Attorney for Plaintiff
                                                Federal Bar Roll Number 603001
                                                401 Rutger Street
                                                Utica, NY 13501
                                                Cell: (570) 441-8818
                                                Email: z.c.oren@gmail.com



Dated: _______ ________, 2022

                                                David Longeretta, Esq.
                                                Law Office of David A.
                                                Longeretta, PLLC
                                                Attorney for Plaintiffs
                                                Federal Bar Roll Number 507602
                                                298 Genesee Street
                                                Utica, NY 13502
                                                Tel.: (315) 735-6162

To: Jonathan Reiner, Esq. (via CM/ECF filing)
   Assistant Attorney General
   Attorney for Defendant




                                         16
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 18 of 39
                               Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 19 of 39
                                                                                                   710.30 NOTICE
        LOCAL CRIMINAL                 COURT:              CITY                   OF:                     'UTICA
PEOPLE V.                 CARRUTHERS                 RAYMOND                                A                      Arrest#
                          (Last)                         (First)                        (Middle)                    777229
PLEASE TAKE NOTICE THAT THE PEOPLE, PURSUANT TO SECTION 710.30 OF THE CRIMINAL PROCEDURE LAW, INTEND TO USE ALL STATEMENTS OR ADMISSIONS
REFLECTED HEREIN MADE BY THE DEFENDANT TO A LAW ENFORCEMENT OFFICIAL.
 A. CONVERSATION AT ARREST SCENE                                   B. CONVERSATION AT                                C. IDENTIFICATION OF DEFENDANT
       Time:     21:31             Date:    09/04/2017               Time:                       Date:              ~ Confirmation (at or near scene)

       To Whom: TPR KIMBERLY M. COLTON                               To Whom:                                       D Observation (of operation or upon other
                                                                                                                         occasion)
       DEFENDANT SAID THAT HE/SHE:                                   DEFENDANT SAID THAT HE/SHE:                     D. VIDEO
~ Had been drinking:       How Many _ _ _ _2_ __               D     Had been drinking: How Many
                                                                                                                     D Yes    ~ No
       Type           BEERS BUDLIGHT                                 Type
                                                                                                         -------
                                                                                                                     E. WARNINGS GIVEN
       Where                    CASINO                               Where                                               DWI Refusal Warning Time:      22:05
[i2j   Operated the VehiclE!                                   D     Operated the Vehicle                                Given by:    TPR KIMBERLY M. COL
,-·1Did Not Drink since Operation of                           D     Did Not Drink since Operation of                    Location SP SCHUYLER
'-' Vehicle Ceas.ed                                                  Vehicle Ceased

~ Was Driving to:                          HOME                D     Was Driving to:
                                                                                                                         Miranda     Time:   22:06

~ Was Driving from:                        CASINO              □ Was Driving from:
                                                                                       ------------                      Given by:    TPR KIMBERLY M. COL

[ ] Had Prior Alcohol Convictions                              D     Had Prior Alcohol Convictions
                                                                                                                         Location SP SCHUYLER

       Is Currently DWI Susp/Revoc                             D     Is Currently DWI Susp/Revoc

D Would Not Take a Screening Test                              D     Would Not Take a Screening Test

D Would Not Take a Chemical Test                               D     Would Not Take a Chemical Test

[ ] AS IN ATTACHMENT HERETO                                    □ AS IN ATTACHMENT HERETO

□ OTHER                                                        □ OTHER
               ---------------                                               --------------
CONVERSATION NARRATIVE:




                                                                                                1-0041
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 20 of 39
                 Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 21 of 39
..

                                                                                                           :s.TA't"~:Qf NEW YORI<.
                                                                                                            ·cOUNTY-·pr.-.O~Etji~- .,.




R,:AYMQNQ A;/ t.\RR,liTHlUtf

,
              .

                 e_1ur. ·: _
                                         OOB
                       .. . . Qti.fl!tt4an(
                                                                      -s~
                            p..~N T.fIA.T~ -~y '!~1!1.:-f.e(qny: C<>.ir~fa\n.t; Tfo9~et -~ injberlt M:.Coltor1-cas t~~ ®.U;1Pli•/~i.µtfJl~rdJk~itt:tfo11eq at$P
=~~Cl!AA•-- ~U$l'lfl!. .. ti\¢ ~bovi=:m.~,t~~--~re.ndalthviih. hav.lng :c-ormnit~d-tt1e:rouow.ing;
                                                                                     ~                  . .
                                                                                                                        ·
          . J l ~: llg:}.V~U.~}n~i,~.a.(edf,~r $~ $-ii:P.ei~11yJ:i1tvfolatlo"n:·:cifth:e;Nrw/Yo* :$~ti~e'-V1;bt<ili fflld·Tr:affii:. Law-secilon· l t9i
,s_µbifiv.i!rlo~::t, t~i ,t~i~fd#en4an~:~Penttb4,,a wufut;~j;:.hlefe w~le liavflti •08 ·ofone:ver·.cenruf11 :or=1n~r.e=~y-w~i~JJ~itJii{~sg·n-~i:ll.t<Xl_d-a~:
•sfl~w.n ;by,.che~i.,C r ajtatysis- ·Clf.s1¢ll :P.e(So!'i's 'blood;.bt.eatl!;__, µrine;::or:4iiillvit•,nife -pur!itiant'fo:tne:_pr.cNt~i~ti.& :ot.s~~-tiQt1: et~~~R:!i~ri<\re~:
·,)_jn~,yi'.fo~,: f)f:tijf _. rtt<ij¢~ att~}~at; withlif th~ ~iJ\ears :P.teceditigJ~¢ p~ij~e~toffe11se~thfdefe11dantwas c~lhv.lct~ij'. ~'l.f~ '1foiati_(10_ 9.(thi; Ntiw,
 York .$tii(~ Ve.~ii, 1 ~i:ic! Tra.ffi(.. La}\.'=-°$qc0o.n: l t 9.!rs:11bdhils-fon 2.. s1ib<liv.i$ion=-l-.· nr:s\ibdivisioii 4.
    . .. t f])ff . gWtol.~ iJtt~~i(Utt(\d;- as ~:f~l(lny, foyfofatrort:Mthe::N,~~1/,Ybfk=State, VehldC:~!id 'Thtffic L!i.\~Se<:titni 114'2 sulxlhilsrmt
                   ant operated a, TT,10tor= veltl~l,fwnfh: lir an J_ot~Xi~~ted, :;~r!~itfon. and :1~at.\ WithiN:tJl~= te1fyears= prece.di111:4: the, pf~$en,
}; in.-·ili~t: ~h~, _··:
·• 9ff~ns.~~:lhe,~~fc;_n a1lt w11lc91wi.~.t~40.{~.'1i1.o _la!ieri 9ftb~N!!W Y:9rk           :st~t~ ¥~Mele 111d =Traffic t.aw.sectio1t, 1::I 9.Z subdlvisi-0112,-subdi\4si9iI
ir ~r-~t1b,«.\M~~~r:           ~- - '                                                                                                                              ·            ·
         ...... J,tfA ('. ~~~t~~:_P.ntk~~~1:G~~tfQn_:~nt.~~-:mf;$i:-~r~;;Jn..-v:folalip)t:Q.(:t~e Ne:wY~rfS:tatt'::\~etu~ie,.at~_Trah.)e Law.s.ctifon
 $. IJ -s.\lW.Ni~i~, ,_ · _ln =tlwOJ;~-- d~~Mt:ow.tam;l. '-_.mQto(v,ehi~~:whil•f~9-wbu~:w· .ha,~iog:-~.!l,n to: ·k11QW. JhnJ,.his. :ot het. J,kt'llile-ur
 t,l!lv,ll--~=~9.P . : .=:,,~ fuot9t,ve~i.t1ll(i~:-(~~:st~e; ·<1.r=»l~ _or,~tmP.mt.J~=pf9,-J~illg ~ 1,~ns~'~!iQ~~sutii!'liot~r.v~hiclifissue<J:by
 t~~ Cti)~.~{ .. '... · · · 'J_r\itotMY.~t9l~~=-yf~$;~~~p~i,~ed9r-:r~Y.~J{~d;:a~q_·$aJ~:'$.t/$p~1t~J~i1 o,r r.~vocatior., ~Y.~~: ~~se·d eltlt-eq1po11 .tfic ,fo!'etH,i:~tin'.s
 r~~i,~~J~,ll11t):              _- ~ ~~~i~W~l. ~~~F_Pur,~:~n~:~~--tf!, '.N.~\,; ¥9r~:-~tµrtY~i~1~,,~g::T.ri.lffi<=. i;;~,v $c.l=ti~m H,94=~r liJ?~m: 111-vrolation qf flny -0n~e
 pr:~:v.i.s/q!l(af'·. .-... ~w Y91·k :State= ¥.¢1:!IeJ:~=~pd.:·;T,i11:f.fic:J:aw: ~epion,=.1-l~?t•.*!:-S!-lid_,.qperaflon· occltrr!1d \\\hl!eJh~= d'efynd1Ju1 w~;; 1.11tdtt.r, :1h11
                               o.t
 ir»l4~n:C.~0:ofa'tc.o 9-r: a' ~rugJn vJohi~~1f9fthe Ncw:Y~rk $~te V~hl~lij l:ll')1fT,r:M)le:-:~a,">iili~do~ .i:H>7"-=sub4:J~i~.ion I, s1n,diyisio~1. ~.
 subdlv.tsfon';f::sti
 .. •,: ..
        ,•• ,• :, ·:; ·.·~-: ..
                           '
                                   ivisfoii.:4 6r:subdlv.lsion''$. . ..
                                 . :. ·- .. ·-·:. :': ·- .. :·: ·:·:·:•,::.·:: . : ..
                                                                                                                 ..·

             .,T-~~ if~ )tt~.n!.tiY*~d·cii~~:~li:C<!mmit~ (J?=NQvem6er.:r ~;:2'0 l:$'a~-~:4qpnL ·:et1tth~tii~:iu*!'~~l.f~¼~~-~Q. ~-Llf'=P°.~-~f)h(; cbarg~~
 ~    ~#f'(ofl~4,t~·
           . :-.
                     :~up_pd.rtl#ti~AA*~n:~~:-9~1.sm:*-fPtirti.cill~ra'·and =71 Q..~~·N:ofi~~::ffl~~ .witlt:d,~~- a~11:rt h~'1J:~Jt'1-, vr:h~\y.t~o,~~
     . ·Th.fill . ~~~Ii$: !~~'tb<:- ~fi:~jffol1f !pr.~v.\Qn~Jy= =~~n:_:~9ft~ito:d,-~ta: N~w. Y.or.k:S.tatt.:.V~bide-and·Tr:aff~ _:La:W,sicHoi). lt~?
 ofknse,ondlo.r:t ··' )he dq.feodln.li~s= OcemelGt:~e.ratfu~=pdvll~J¢ fo-N~w York State has ~ri=$usperided/nMiKe.tiis·booed on the fof:lowin~:
                 ttl P.i. . · tnpµj~r: cit~~~ wiiti Jh~=N.l(lW: Y~i:~ SJ~,t~(Pep~~n~11i: Qf:fy(qtl)r·V~hfoies.:r~~Qrcls ~ccQsse<l. throi1~t, tho]'IYSi?JNcotnpt1tct
                       1>,y.~t ~' .                                              .
                 . .     '. !... .            ..   ...   ' '.          .    ..              ·-·..     .'              . .          .         ,•
                 l Xl Th. (19f~11d.iin.t' s o~a.J.:~d\'lri!i,fo11· :tQ,-.th~ p~viQ_1.1$_ ~nvl~ticm llJIW.<w su&pen11i(niltev9cz#ti◊lEOf:llc.ens~ ~f ◊!~¢:i.•{i(ht& priv ile~e;

                 ·.ri Celfi 1tij~:~f:¢;()~Yiet!Qn.Jt~m :i,,~tl:9fthe.N~j· Y9i;k)llft_f0,:0t;pa~mfmt:;,f-:M.oi~f. V.~h-~e.l~i;;•.
                 ·:l~ _u=wii :¢":'-~$.ffUm,~~{i.ltJi=P.lf~~D.il~b~lu~(i~~~g~:~-4-~•~~-t~J~~~ta~~~li~;~:~~~,e~.-~~#i:p~4~,n9(~~1if~¥e::tfl J~l.!:fr~(l_:
 b~J,i':C>m~it~irw, .:,, :·.:~:~;la~f-t'1:~J~wiott,~e,s~~: 9:.f:~~w.:-1;~r~p~n:1ih:a~~e=.:as,:·~::~~~ .,,.: 'l\.'.ll•~~m,a._119-r-.:-<i1L.~~~~!01r=;.J~4!!i)

                 :A/flril\~' U~~~(p.~~~!t)'}>f,p~tj~1ri(
                  tbii,. 4th:-,. ny: i}f ;$~pt~mbct; :ZOl7 .
                                 '            '
                                        ...




                                                                                         1-0097
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 22 of 39
                    Case 6:20-cv-00399-FJS-TWD      Document 21-3 Filed 12/19/21 Page 23 of 39
                                           New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 POLICE AGENCY                                  Date of Arraignment
M2117C6LTX                                                                                      Court Adjourment Record                ocket Number
The people of The State ofNew York               INEW YORK STATE POLICE                                                                R-09069-17
vs.                                              !Local Police Code
._ast Name (Defendant)                           ~irstName                    M.I.
CARRUTHERS                                       OC{AYMOND                    A
Number and Street                                                             Photo Lie Shown   Date From          Code              !Date to          Requested By
48 LESLIE A VE                                                                Yes
City                                               ip Code      Oper.Owns Veh i.,ic. Class
                              ~e                                y
UTICA                                            13502
Client ID Number                                                Sex           Date Expires
412105932                                                       M             07/24/2024
..,ic. State                  Kreh. Type         ~ear           Make          Color                                Amount            !Date             !Receipt No.
             =irth
NY                     84     11- Passenger      !Z012          CHEV          IGY               Bail
Plate Number                  !Reg. State        !Registration Expires                          Refund
HNT4077                       INY                11/25/2018                                     Fine
                                                                                                Surcharge

                 THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
 Time                       ate        IN VIOLATION OF
 09:23 PM                  9/04/2017   IVTL
!Violation Section                     Tr Inf/Misd/Fel            IHZone
 11923                                                 IH
                                       Misdemeanor
 Description of Violation              PS DOT#
!DRIVING WHILE INTOXICATED (MISD) ComVeh               Bus        HazMat
'(:;!TN Name                           County          Hwy Type [NCIC/ORI
tITY OF UTICA - 3302                   Oneida          1-         13302
Street Name                            Hwy.No.         ._oc. Code                                   SECTION 1807 OF THE VEHICLE AND TRAFFIC
l90 MPM 233.4E                         90              3302                                         LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                    CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                    FOLLOWS:
              ~,,J,111,~                                                                        "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                 trial. If you are convicted, not only will you be liable to a penalty,
Officer's Signature Affirmed Under Penalty of Perjury                                           ~ut in addition your license to drive a motor vehicle or motorcycle,
                                                                                                and your certificate ofregistration, if any, are subject to suspension
                                                                                                tand revocation as prescribed by law."

                                                                                                To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                Doxes below.
Officer Operating Radar Signature
                                                                                                [ HEREBY CERTIFY THAT:
!Date Affirmed                                     ff Assign        adge/Shiel t;st Type
"9/04/2017                                        311               200         -PATROL
Officer's Name
[{COLTON
                                                                                                  □      Upon arraignment, that the above instruction was given
                                                                                                         orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
!Utica City Court

                                                                                                  □
Address                                                                                                  Th.e defendant appeared in response to a ticket upon which
  411 ORISKANY ST. WEST                                                                                  the above instructions were printed in bold type, in
'(:;ity                           State         IZip                                                     accordance with Section 1807 of the Vehicle and Traffic
UTICA                             NY            13502                                                    Law.
                                  Date          !Time
Must appear in person on:         09/13/2017    "9:00:00A


                                      FOR COURT USE ONLY                                          □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                         Section 1805 of the Vehicle and Traffic Law.
Court Code                     ustice Code                 IDate Sentenced Imposed
                                             Date Adjudicated
NY032031J
Charge Convicted of AS ABOVE VTL OTHER Disposition/Sentence "ineAmt
                                                           Surcharge                             ignature of Judge or Clerk of Court                   !Date
)3ail Forfeiture Amt      Date         ..,icense
                                       Rev Susp Mand       !Month/Day/Yrs
                                       Perm                                                     !Name of Judge
DWI Test Type                          DWI Test Results
1                                                22
Suooorting Deoosition Issued None




                                                                             1-0029
                      Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 24 of 39
                                                               New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES                                                          \
                                  FOR FELONY TRACKING PURPOSES ONLY/ NOT AN ACCUSATORY INSTRUMENT                                                                     \
                                                                                                                                                                       \
                                                 ~OLICE AGENCY                                          Date of Arraignment                                                '\
M2117C6MJF                                                                                              Court Adjourment R~ord                  ocket Number                    \

The people of The Stat,e of New York             ~WYORKSTATEPOLICE                                                                              R-09069-17
vs.                                               ..ocal Police Code
Last Name (Defendant)                            J1irs1;Name                        M.I.
CARRUTHERS                                       ~YMOND                             A.
Number and Street                                                                   Photo Lie Shown     Date From          Code               Date to           [Requested          By1
48 LESLIE AVE                                                                       !Yes                                                                                              \
City                           tate               ip Code      Oper Owns Yeh        Pc. Class
UTICA                           y                13502         y
                                                                                                                                                                                          I
Client ID Number                                               Sex                  [Date Expires
412105932                                                      M                    07/24/2024 .
L,ic. State  jDate ofBirth    Kreh. Type         ~ear          Make                 K;olor                                 Amount             !Date             [Receipt No.
NY                     4      11 - Passenger     ~012          CHEV                 GY                  Bail
Plate Number                  lli,g. State       lli,gistration Expires                                 Refund
HNT4077                       NY                 lll/2512018                                            "'ine
                                                                                                        Surcharge

                 THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
!Time                     ate       IN VIOLATION OF
[09:23 PM                 9/04/2017 YTL
!Violation Section                  Tr Inf/Misd/Fel                                     rHZone
                                                    rH
15113A                              Felony
 Description of Violation           tJSDOT#
IAGGRAVATED UNLIC OPER 1ST DEGREE Com Yeh            us                                 IHazMat
'(:',/TNName                        County          Hwy Type                            INCIC/ORI
!CITY OF UTICA - 3302               Oneida          1-                                  13302
Street Name                         liwy.No.        LOc. Code                                                  SECTION 1807 OF THE VEHICLE AND TRAFFIC
1[90 MPM 233.4E                                  '10                      3302                                 LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                               CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                               FOLLOWS:
             -~n,,~-
                                                                                                        "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                        ltrial. If you are convicted, not only will you be liable to a penalty,
Pfficer's Signature Affirmed Under Penalty of Perjurv                                                    but in addition your license to drive a motor vehicle or motorcycle,
                                                                                                        fllld your certificate of registration, if any, are subject to suspension
                                                                                                         and revocation as prescribed by law."

                                                                                                        To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                        lloxes below.
Officer Operatinl!: Radar Simature
Date Affinned
09/04/2017
                                                 ~Assign
                                                   11
                                                                           adge/Shiel
                                                                           200
                                                                                        t~      Type
                                                                                           -PATROL
                                                                                                         HEREBY CERTIFY THAT:


Officer's Nam~
IK.COLTON                                                                                                 □       Upon arraignment, that the above instruction was given
                                                                                                                  orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW :JN:
tUtica City Court

                                                                                                          □
[Address                                                                                                          The defendant appeared in response to a ticket upon which
 411 ORISKANY ST. WEST                                                                                            the above instructions were printed in bold type, in
City                                             State                    Zip                                     accordance with Section 1807 of the Vehicle and Traffic
UTICA                                            NY                       13502                                   Law.
                                                 !Date                    Time
Must appear in person on:                        09/13/2017               09:00:00A


                                       FOR COURT USE ONLY                                                 □       Defendant entered a plea of guilty in writing pursuant to
                                                                                                                  Section 1805 of the Vehicle and Traffic Law.
Court Code                     ustice Code       Date Adjudicated         !Date Sentenced Imposed
NY032031J
Charge Convicted of AS ABOVE VTL OTHER Disposition/Sentence "'ineAmt
                                                            Surcharge                                   Signature of Judge or Clerk of Court                    Date
Bail Forfeiture Amt       Date         License
                                       Rev Susp Mand        Month/Day/Yrs
                                                 "enn                                                   !Name of Judge
DWI Test Type                                    DWI Test Results

Supporting Deposition Issued None


                                                                                        1-0030
                       Case 6:20-cv-00399-FJS-TWD       Document
                                             New York State              21-3
                                                            - Department of        Filed 12/19/21 Page 25 of 39
                                                                            Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 1:'OLICE AGENCY                                   IDate of Arraignment
M2117C6T7N                                                                                         Court Adjounnent Record                ocket Number
The people of The State of New York              NEW YORK STATE POLICE                                                                    R-09069-17
VS.                                              ~ocal Police Code
..,ast Name '-Defendant)                         !First Name                ~LI-
CARRUTHERS                                       RAYMOND                    A
Number and Street                                                           Photo Lie Shown        Date Froin         Code              !Date to          Requested By
48 LESLIE A VE                                                              Yes
City                                               ip Code    Oper Owns Veh ILic. Class
                             ~e                               y
UTICA                                             3502
Client ID Number                                              Sex                  Date Expires
412105932
..,ic. State
NY
Plate Number
HNT4077
              =irth      84
                              Kreh. Type
                              ~ - Passenger
                              !Reg. State
                              NY
                                                 !Year
                                                 ~012
                                                              M
                                                               Make
                                                               CHEV
                                                 !Registration Expires
                                                 11/25/2018
                                                                                   07/24/2024
                                                                                   Color
                                                                                   IGY             Bail
                                                                                                   Refund
                                                                                                   Pine
                                                                                                                      Amount            [late            !Receipt No.




                                                                                                   Surcharge

                THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
Time                       ate        ~ VIOLATION OF
09:23PM                   9/04/2017   IVTL
Violation Section                     Irr Inf/Misd/Fel             )HZone
                                                       IH
11941B                                lnfraction
Description of Violation              IUSDOT#
REFUSAL TO TAKE BREATH TEST           ~omVeh           Bus         HazMat
C/TNName                              k:ounty          Hwy Type NCIC/ORI
CITY OF UTICA - 3302                  Oneida           ~-          13302
Street Name                           !Hwy. No.        ..,oc. Code                                     SECTION 1807 OF THE VEHICLE AND TRAFFIC
190 MPM 233.4E                        !)O              3302                                            LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                       CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                       FOLLOWS:

              ~n,.~                                                                                "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                   trial. If you are convicted, not only will you be liable to a penalty,
Officer's Signature Affirmed Under Penalty of Perjury                                              ):mt in addition your license to drive a motor vehicle or motorcycle,
                                                                                                   and your certificate of registration, if any, are subject to suspension
                                                                                                   and revocation as prescribed by law."

                                                                                                   To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                   !)oxes below.
Officer Operating Radar Signature                                                                  I HEREBY CERTIFY THAT:
Date Affirmed                                     ff Assign               adge/Shiel ttst Type
09/05/2017                                        311                    1200         -PATROL
Officer's Name
KCOLTON                                                                                              □      Upon arraignment, that the above instruction was given
                                                                                                            orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
Utica City Court
Address
 411 ORISKANY ST. WEST                                                                               □      · The defendant appeared in response to a ticket upon which
                                                                                                              the above instructions were printed in bold type, in
City                                   State      ~ip                                                         accordance with Section 1807 of the Vehicle and Traffic
UTICA                                  NY         13502                                                       Law.
                                       Date       !Time
Return by mail before or in person on: 09/13/2017 ~9:00:00A


                                      FOR COURT USE ONLY                                             □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                            Section 1805 of the Vehicle and Traffic Law.
Court Code                     ustice Code   Date Adjudicated            [late Sentenced Imposed
NY032031J
~harge Convicted of AS ABOVE YTL OTHER           Disposition/Sentence fine Amt
                                                                      Surcharge                    Signature of Judge or Clerk of Court                   l)ate
!Bail Forfeiture Amt          Date               ...icense
                                                 Rev Susp Mand        Month/Day/Yrs
                                                 Perm                                              !Name of Judge
OWi Test Type                                    DWI Test Results

Supporting Deposition Issued None




                                                                                     1-0024
                        Case 6:20-cv-00399-FJS-TWD      Document 21-3 Filed 12/19/21 Page 26 of 39
                                                New York State - Department of Motor Vehicles
                           SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEIDCLES
                                                   POLICE AGENCY                                   [)ate of Arraignment
            117C6LK7                                                                               Court Adjourment Record                ocket Number
         ;ie of The State of New York              NEW YORK STATE POLICE                                                                  R-09069-17
                                                   ,..,ocal Police Code
      /Name (Defend~at)                            First Name                    M.L                                                      _....     '~·~,
   .-\RR.OTHERS                                    RAYMOND                       ~                                                                      ,,
                                                                                                                                                  ','~'}:


   \fumber and Street                                                            ~hoto Lie Shown   Date From          Code              Date'toi             !Requested By
' 48 LESLIE A VE                                                                 ~es                                                                '
  City                         ~te                    ip Code      Pper Owns Yeh lie. Class
  UTICA                                              3502          y
  Client ID Number                                                 Sex           Date Expires
  1412105932                                                       M             07/24/2024
  lie. State
 NY
                ~;irth    84
                                Veh. Type
                                l - Passenger
                                                   Year
                                                   2012
                                                                   IMake
                                                                   CHEV
                                                                                 ~olor
                                                                                 ~y                Bail
                                                                                                                      Amount            Date                 !Receipt No.

 Plate Number                   Reg. State         Registration Expires                            Refund
 HNT4077                        NY                 11/25/2018                                      Fine
                                                                                                   Surcharge

                  THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
 riime                       ate        IN VIOLATION OF
 K)9:23PM                   9/04/2017   VTL
 !Violation Section                     Tr Inf/Misd/Fel              rHZone
                                                        rH
 1128A                                  fofraction
 [)escription of Violation              US DOT#
 !MOVED FROM LANE UNSAFELY              ComVeh             us        HazMat
 'r:,!TNName                            County          Hwy Type NCIC/ORI
  CITY OF UTICA - 3302                  ~neida          1-           13302
 Street Name                            Hwy.No.         ,..,oc. Code                                   SECTION 1807 OF THE VEIDCLE AND TRAFFIC
 ~90 MPM 233.4E                         90              3302                                           LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                       CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                       FOLLOWS:

                ~fri.~
                                                                                                   "A plea of guilty to this charge is equivalent to a conviction after
                                                                                                   trial. If you are convicted, not only will you be liable to a penalty,
 !Officer's Signature Affirmed Under Penalty of Perjury                                            but in addition your license to drive a motor vehicle or motorcycle,
                                                                                                   and your certificate of registration; if any, are subject to suspension
                                                                                                   and revocation as prescribed by law."

                                                                                                   To Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                   boxes below.
 !Officer Operating Radar Signature                                                                 HEREBY CERTIFY THAT:
 [)ate Affirmed                                     ff Assign          adge/Shiel t~st Type
 09/04/2017                                         311               1200         - PATROL
 !Officer's Name
 IKCOLTON                                                                                            □      Upon arraignment, that the above instruction was given
                                                                                                            orally to the defendant


 TIDS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
 [Utica City Court
 ~ddress
  411 ORISKANY ST. WEST                                                                              □      The defendant appeared in response to a ticket upon which
                                                                                                            the above instructions were printed in bold type, in
 City                                   State       Zip                                                     accordance with Section 1807 of the Vehicle and Traffic
 UTICA                                  NY          13502                                                   Law.
                                        Date        Time
 Return by mail before or in person on: 1)9/13/2017 09:00:00 A



                                       FOR COURT USE ONLY                                            □      Defendant entered a plea of guilty in writing pursuant to
                                                                                                            Section 1805 of the Vehicle and Traffic Law.
 Court Code                     ustice Code   Date Adjudicated        Date Sentenced Imposed
 NY032031J
 Charge Convicted of AS ABOVE VTL OTHER !Disposition/Sentence -ineAmt
                                                             Surcharge                             Signature of Judge or Clerk of Court                      Date
 Bail Forfeiture Amt       Date         license
                                        IRev Susp Mand        Month/Day/Yrs
                                        ~erm                                                       Name of Judge
 DWI Test Type                          [)WI Test Results

 Suooorting Deoosition Issued None'




                                                                               1-0006
                  Case 6:20-cv-00399-FJS-TWD     Document 21-3 Filed 12/19/21 Page 27 of 39
                                          New York State - Department of Motor Vehicles
                        SIMPLIFIED INFORMATION/CERTIFICATE CONCERNING VIOLATION OF LAW RELATING TO VEHICLES
                                                 POLICE AGENCY                                   !Date of Arraignment
M2117C6MDK
     I                                                                                           ~ourt Adjourment Record                ocket Number
!The pbople of The State ofNew York              NEW YORK STATE POLICE                                                                  R-09069-17
IVS.                                             ...,ocal Police Code
ILast Name (Defendant)                           f<irstName                    M.I.
~AR.RUTHERS                                      RAYMOND                       ~
Num9er and Street                                                              rhoto Lie Shown   [Date From         [Code             Date to           !Requested By
<18 LESLIE A VE                                                                Yes
City !                         tate                 ip Code      bper Owns Yeh ,_,ic. Class
UTIC~                           y                13502           y
ClientlID Number                                                 Sex           Date Expires
412105932                                                        M             07/24/2024
                                                                               Color                                                                    IR.eceiptNo.
Lie. State     ~fBirth Veh. Type                 Year            Make                                               IA.mount          Date
NY i                 1984     1 - Passenger      Z012            t:HEV         GY                Bail
Plate Number                  Reg. State         Registration Expires ·                          !Refund
HNT4077                       NY                 11/25/2018                                      fine
         !                                                                                       Surcharge
         i

       I        THE PERSON DESCRIBED ABOVE IS CHARGED AS FOLLOWS
Time i                     ate        IN VIOLATION OF
09:23PM                   9/04/2017   YTL
~iolation Section                     Tr Inf/Misd/Fel            rHZone
                                                      rH
11922.AA                              Misdemeanor
Description of Violation              US DOT#
AGGRAVATED DWI-BLOOD ALCOHOL          ComVeh          Bus        HazMat
C/TNName                              County          IHwyType ~CIC/ORI
CITY OF UTICA - 3302                  Oneida          1-         ~3302
Street Name                           Hwy.No.         [Loe. Code                                     SECTION 1807 OF THE VEHICLE AND TRAFFIC
190 MPM 233.4E                        90              ~302                                           LAW PROVIDES THAT DEFENDANT, IN CERTAIN
                                                                                                     CASES,MUST BE INFORMED IN SUBSTANCE AS
                                                                                                     FOLLOWS:

             ~/Yi,~                                                                              11 A plea of guilty to this charge is equivalent to a conviction after


                                                                                                 ma!. If you are convicted, not only will you be liable to a penalty,
bfficer's Signature Affirmed Under Penalty of Perjury                                            [but in addition your license to drive a motor vehicle or motorcycle,
                                                                                                 [and your certificate ofregistration, if any, are subject to suspension
                                                                                                 ~d revocation as prescribed by law. 11

                                                                                                 rro Judges or Clerk of Court: Checkmark the appropriate box or
                                                                                                 [boxes below.
Officer Operating Radar Signature                                                                 HEREBY CERTIFY THAT:
[Date Affirmed                                    ff Assign          adge/Shiel t;st Type
~9/04/2017                                        311                200         -PATROL
Officer's Name
~COLTON                                                                                            □       Upon arraignment, that the above instruction was given
                                                                                                           orally to the defendant


THIS MATTER IS SCHEDULED TO BE HANDLED ON THE APPEARANCE DATE BELOW IN:
!Utica City Court

                                                                                                   □
k\ddress                                                                                                  The defendant appeared in response to a ticket upon which
 411 ORISKANY ST. WEST                                                                                    the above instructions were printed in bold type, in
~ity                               State        Zip                                                       accordance with Section 1807 of the Vehicle and Traffic
iUTICA                             NY           13502                                                     Law.
                                   Date         rrime
Must appear in person on:        . 09/13/2017   ~9:00:00A-


                                      FOR COURT USE ONLY                                           □       Defendant entered a plea of guilty in writing pursuant to
                                                                                                           Section 1805 of the Vehicle_and Traffic Law.
~ourt Code                     ustice Code   Date Adjudicated
                                                            Date Sentenced Imposed
NY°032031J
~harge Convicted of AS ABOVE VTL OTHER Disposition/Sentence "ineAmt
                                                            Surcharge                            ~iimature of Judge or Clerk of Court                  . !Date
Bail Forfeiture Amt          Date      ....icense
                                       Rev Susp Mand       !Month/Day/Yrs
                                       Perm                                                      !Name of Judge
bWI Test Type                          DWI Test Results
1                                      122
Supporting Deposition Issued None




                                                                            1-0042
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 28 of 39
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 29 of 39




    STATE OF NEW YORK
    COUNTY OF ONEIDA                     UTICA CITY COURT

    The People of the State of New York,

                                                 Plaintiff,
               against                                             Decision and Order

    Raymond A. Carruthers,
                                                                   CR No. 09069-17
                                                 Defendant.

                                                                     (     ' ')<
                                                                              ' \;:[,"' 1?r.~
                                                                                        ,,<t I ~;
                                                                                              I ·. ','
    APPEARANCES:          Maria Murad Blais, Esq. for the People '"·~-        \,]·'          ,, ,
                          John G. Leonard, Esq. for the Defendant


    PRESENT:       Hon. F. Christopher Giruzzi

                                      PROCEDURAL HISTORY

        The defendant, Raymond A. Carruthers, is charged with the misdemeanors of
    Aggravated Driving While Intoxicated (VTL 1192(2-a)(a)), Aggravated Unlicensed
    Operation in the Third Degree (VTL 51 l(l)(a)), Driving While Intoxicated (YTL 1192(3)),
    and the traffic violations of Refusal to Take Breath Test (VTL 1194(1)(b)) and Moved from
    Lane Unsafely (VTL 1128(a)).
        On April 20, 2018 and June 7, 2018, a Dunaway was conducted to determine the
    admissibility of evidence obtained as a result of his detention and arrest. A New York State
    Trooper testified for the People: Kimberly M. Colton ("Colton"). The defense did not put
    on any witnesses. Exhibits received into evidence were the Trooper's DWI and Miranda
    Warning card (People's Exhibit 1) and National Highway Traffic Safety Administration
    ("NHTSA") Student Manuals for DWI Detection and Standardized Field Sobriety Testing
    for years 2000, 2002, 2004, 2013, and 2015 as well as separately excerpted pages from the
    1981 and 2002 manuals (Defense Exhibit C).
                                            TESTIMONY

        Colton's direct testimony was as follows:
        On September 4, 2017, Fulton was working a 7:00 p.m. to 7:00 a.m. shift. She was on
    the Thruway at about 8:30 p.m. when she received a call from dispatch of a gray passenger


                                        1-0277
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 30 of 39




    car on the Thruway headed westbound extremely slowly and being "all over the road".
    After heading toward the reported location, Colton received information that the vehicle
    had exited the Thruway at Exit 34, then at about 9: 14 p.m. Colton received a fmiher report
    that the vehicle was back on the Thruway headed eastbound. Colton headed in that
    direction and came up behind a gray Malibu. She clocked the vehicle on radar at 41 m.p.h.
    and observed it cross the center lane marker 3 times. Colton stopped the vehicle near
    milepost marker 236. The single occupant was Defendant driver who appeared disheveled,
    smelled strongly of alcohol, and had watery, bloodshot eyes. Colton asked for Defendant's
    license and registration; Defendant complied, apparently without difficulty. Defendant first
    told Colton that he was coming from Rome; when she noted a discrepancy in that account,
    he then told her he was coming from "the casino." Defendant admitted, with slmTed
    speech, to having had 2 beers at the casino. Colton administered the three Standard Field
    Sobriety Tests and the Romberg test, all of which Defendant failed. Defendant refused to
    provide a breath sample for the roadside testing. Colton arrested him for Driving While
    Intoxicated and placed him in her patrol car. She read him the DWI warnings and Miranda
    Warnings, which he said he understood. Defendant agreed to submit to a chemical test but
    after some further conversation Defendant became extremely upset.
        Colton testified that she has been a Trooper for 18 years, that she has received training
    on how to conduct DWI traffic stops, and that she has received training in the Standard
    Field Sobriety Tests. Colton testified that she received the Trooper of the Year Award four
    times for her DWI work. Colton also testified that this was her first participation in a
    suppression hearing. [That surprising lack of courtroom experience may have contributed to
    the stunningly weak, shallow, evasive, and unconvincing quality of her testimony,]
    particularly that regarding probable cause for the DWI arrest.
        Direct examination:
        Q. So, Trooper, I ask you exactly, you said, nystagmus, the gaze nystagmus test. Do
    you know the full name of that test?
        A. I don't recall it. So, no I don't.


        Q. Exactly what did the Defendant show to you on that date when you performed this

                                                    2

                                           1-0278
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 31 of 39




    test with him?
        A.    That he had unequal tracking, unequal, lack of smooth pursuit.


        Q. Okay. Do you know what the total amount of clues for the walk and turn test?
        A.    Eight.
        Q.    Eight. Can you list those 8 clues?
        A. Not exactly, no.


        Q.    You're familiar with the clues in the one leg stand. You know how many clues
    there are total?
        A.    Six.
        Q.    And do ...
        A.    Excuse me, 4.
        Q.    Four. And do you know exactly what clues the Defendant exhibited on that date.
        A.    He failed.
        Cross examination:
        Q. No, you just testified, and I ask you and you just said it again that my client had
    unequal tracking. And in your manual, and you've been trained, that if a person has
    unequal tracking that means they're unable to follow the stimulus.
        A.    That's correct.
         Q.   And if he's unable to follow the stimulus how do you do the tests? You can't
    perform the test if they can't follow the stimulus?
         Q.   I do attempt, absolutely, and it's written off as a fail.


         Q. And in your manual it says that if you have an unequal tracking and they can't track
    you cannot do the test, right?
         A.   Possibly, I don't know the exact verbiage of the manual from 2000.
         Q. Well, you've done this for 19 years, right?
         A.   I absolutely have.




                                                      3

                                           1-0279
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 32 of 39




        Q. And how many DWI arrest have you had?
        A.      Several.


        A. I received 4 years of Trooper of the Year Award for my DWI activity.
        Q.      Okay. So you should know this stuff inside and out, right?
        A. Possibly.


        Q. Explain what unequal tracking is.
        A. Unable to track my pen.
        Q.      Okay, what's that mean?
        A. Unable to track my pen.
        Q. Meaning what?
        A. Can't track my pen.


        Q. Trooper, tell me the clues, the exact clues for the HGN. I'm sorry, for the walk
    and turn.
        A. The exact clues. Every step needs to be heel to toe. When he gets to the turn it
    needs to be a sh01i, choppy turn as demonstrated to him prior to the test begins.
        Q.      So, there's 3 clues?
        A. There's 3 clues?
        Q.      I'm asking you. Is there 3 clues?
        A. He failed all of the clues .
        . . . (after Colton provided of the eight clues)
        Q. Three. Give me the other five.
        A. That's the extent of what I can provide you[.]
        Colton was cross-examined about her motive in filing an unsubstantiated felony
    Aggravated Unlicensed Operator complaint against Defendant instead of a misdemeanor
    complaint, such enhanced charge causing Defendant to be held in jail for arraignment. The
    complaint was later amended to a misdemeanor by the People.
        Q. Is that the felony complaint that you filed that night, Exhibit B? And at the bottom

                                                    4

                                           1-0280
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 33 of 39




    it says that false statements are punishable by ...
        A.     Yes, I did.
        Q.     Right, you signed that.
        A.     Yes, I did,
        Q. And you have no knowledge that my client had a suspended license for alcohol for
    the refusal that night, correct? And before you answer that, I don't know if you want to
    have your own attorney here because this is pretty serious that ...
        A.· Okay.
        Q. . .. you falsely charged my client with a felony and he had to go to jail that night.
    So if you want to stop right here and not answer anything else because that's a false
    statement that you had there based on the documentation that you have. Would you like to
    stop?
        A. I would like to talk to the ADA.
        The hearing was thereupon adjourned. When it resumed weeks later, things did not
    improve.
        A.     My understanding at the time with the convictions of his prior DWI, Al's, with a
        suspension are trying to articulate the Vehicle and Traffic Law sometimes gets
        confusing [sic]. I did make a mistake of charging him with an A UO 1st which is a
        human error it is not perjury. It was a human mistake.
        Q.     So, who told you to say that? Did you talk to an attorney? Did you talk to the
        boss, did you talk to the Supervisor and have you come in here and change your
        testimony telling us that's a human mistake? Who did you talk to say that?
        A. I spoke to my union rep.
        Q. And they told you to come in here and say that?
        A.     We discussed it. We went through the paperwork together. And together going
        through the Vehicle and Traffic Law we discussed it together and decided it should
        have been AOU 3 rd and it was absolutely an error not perjury. Not intentionally, not
        knowingly.


        Q. And you have, let's say a hundred stops in 20 years, 18 years.


                                                    5

                                          1-0281
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 34 of 39




        A.   Correct.
        Q.   ForDWI?
        A.   Correct.
        Q. Okay. And every time that you arrest somebody unless they refuse you give field
        sobriety tests, correct?
        A. That is correct.
        Q. Okay. Why don't you know it then?
        A.   Why don't I know the manual?
        A.   Yeah.
        A. I don't. I don't have an answer for that.
                                             CONCLUSION

        The testimony quoted above provides examples but does not adequately capture
    Colton's equivocation, failure of memory, and lack of candor. Her testimony regarding
    probable cause was neither reliable nor credible. Her recall was selective and self-serving.
    Her overall demeanor in that portion of the hearing is illustrated by the following exchange:
        Q.   . .. You said on your paperwork under the penalties or perjury that my client had 8
    clues on the walk and turn.
        A. That is correct.
        Q. Tell me the 8 clues.
        A. I can't
        Q.   Okay. So we should just strike that because you have no idea ...
        A. If that's what my, [sic] the Judge would like to do so be it.
        "The analysis required of a [suppression] hearing Judge faced with deciding whether
    the People have met their burden is largely the same as that used by a magistrate in passing
    on an application for an arrest or search warrant." People v. Dodt, 61 N.Y.2d 408,415
    (1984) (citations omitted)
        "It is settled law that such a [suppression] challenge casts on the prosecution the
    burden of coming forward with evidence that the arrest met the probable cause standard.
    Summary statements that the police had arrived at a conclusion that sufficient cause existed
    will not do. As on a warrant application, it is the responsibility of the neutral court, not the


                                                    6

                                          1-0282
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 35 of 39




    police, to determine whether the latter were justified in making the serious intrusion that the
    deprivation of another's liberty constitutes. For that purpose, the court must be presented
    with facts, not assurances." People v. Bouton, 50 N.Y.2d 130, 135 (1980) (citation
    omitted)
                                      CONCLUSION AND ORDER

        Colton's testimony establishes reasonable suspicion for the initial stop and sufficient
    grounds for a further investigatory detention. However, her testimony regarding probable
    cause for a DWI arrest is another matter altogether, consisting not of facts, but of
    assurances.
        After review of the testimony and evidence adduced the hearing, and based on the
    findings of fact and conclusions of law noted above, the court determines that:
        1.     Defendant's motion for suppression of evidence based on an arrest made without
               probable cause is GRANTED insofar as all evidence obtained subsequent to
               Defendant's arrest may not be used against him at trial.
    Dated: Utica, New York
           September 13, 2018




                                                            Utica City Court Judge




                                                   7

                                          1-0283
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 36 of 39
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 37 of 39




  State of New York
  County of Oneida                                                 Utica City Court

                                   PLEA OF GUILTY

  Instructions to Motorists: Submit this form to the Court by Registered or
  Certified mail, Return Receipt Requested accompanied by Record of Conviction
  Stub. This form may not be used for misdemeanors or for a third or subsequent
  speeding violation in an 18-month period. If the court denies this application,
  the applicant will be notified to appear.

  To: Utica City Court
                          ..
  I, Raymond Carruthers, residing at 6 Jessica Place, Whitesboro, NY, pleads
  guilty to Section 1128(a), Moved From Lane Unsafely, of the vehicle and traffic
  law, dismissing the original charges of Section 511(2)(a)(ii), Aggravated Unlicensed
  Operation in the Second Degree; Section 1192(2)(a), Aggravated Driving While
  Intoxicated with a BAC of .18% or Greater; Section 1192(3), Driving While Intoxicated;
  and Section 1194(1)(b), Refusal to Take a Breath Screen, of the Vehicle and Traffic Law
  of the State of New York, committed on September 4, 2017. I acknowledge receipt of
  the following warning:

  "A PLEA OF GUILTY TO THIS CHARGE IS EQUIVALENT TO A
  CONVICTION AFTER TRIAL. IF YOU ARE CONVICTED, NOT ONLY WILL
  YOU BE LIABLE TO A PENALTY, BUT IN ADDITION YOUR LICENSE TO
  DRIVE A MOTOR VEHICLE OR MOTORCYCLE, AND YOUR CERTIFICATE
  OF REGISTRATION, IF ANY, ARE SUBJECT TO SUSPENSION AND
  REVOCATION AS PRESCRIBED BY LAW."

   I waive arraignment in open court and the aid of Counsel. I plead guilty to the
   offense as indicated and request that this charge be disposed of and fine or
   penalty fixed by the court.




                                      1-0003
Case 6:20-cv-00399-FJS-TWD Document 21-3 Filed 12/19/21 Page 38 of 39
                  ~;;~~
                       Case 6:20-cv-00399-FJS-TWD
                       9
                                            DA#
                                                  Document 21-3 Filed
                                                                 Court#
                                                                                     ·-·=i
                                                                      12/19/21 Page 39 of 39Misc.
                                                                                                                                 UTICA
            LOCAL CRIMI . L                    CQURT:                   CITY                         OF:
  ----=-,--=--,--,,ff,,.,...,--,,-=-,-                   - - --       - - - - --            -   -          - - - --     -    -    --------                            ~ SUPPORTING DEPOSITION
 -sTATE O F N EW Y               K : COU NTY O F                      ONEIDA
                                                                                                                                                                       ~ DWI BILL OF PARTICULARS
                                                   THE P EOPLE OF T H E STATE OF            NEW YORK
                                                                      against

   CARRUTHERS                                         RAYMOND                                   A                    DEFEN DANT
        (Last)                                          (First)                             (Middle).
The above •DEFENDANT is charged by Simplified Traffic Information (TSLED) Numbers(s):                             M2117C6LTX/ M2117C6MDK
( or attached accusatory i trument) with OPERATING A MOTOR VEHICLE UNDER THE INFLUENCE OF ALCOHOL ANO/OR DRUGS contrary lo Section 1192 of the Vehicle and
Traffic Law. A Supporti    Deposition and/or Bill of Particulars pursuant to SectiOns 100.25 & 200.95, respectively, Of the Criminal Procedure Law are hereby provided. as follows:
 THE UNDERSIGNED CO PLAJNANT, upon direct knowledge unless otherwise specified , avers that the defendant, .on or ·a bout                09/04/2017 , at or about       09:23
 operated a (color)                       GREY            YR        2012        (make)              CHEV        motor vehicle, bearing State of          NY     registration number           HNT4077
                             1

 in a _ _ _EA
            _ S_T_E_R
                    _L_Y   l _direction on
                       . ...,                                      190 MPM 2 33 .4E                     a public highway/parking lot in the             CITY          of              UTICA

,..c_o_u_n_ty_o_f--'====F.==
                           O=N=E=l=
                                  O=A======.· State of New York, while in an intoxicated condition and/or having a                                 0.22% blood alcohol contenl
                                                                           , 4 . PROBABLE CAUSE FOR ARREST:                                       O      Blood (Results to be delivered later)
                                                                                                                                                  ~ BREATH TEST BA.C. 0.22%
                                                        21 :55
                                                                           A. Observation of the Defendant's:
                                                                                                                                                  Breath Tesl Operator _
                                                                                                                                                                       KIMBERLY M COLTON
                                                                           ~ Driving                                                              □ Other Test ...;...._ _ _ _ _ B.A.C.
                                                                           ~ Odor of Alcoholic Beve(age                                           Inst#             ARAH-0027                 Mo d e l # ~ O
                                                                           0    Odor of Man]uana                                                  Sim. Lot#     219199 CYL 38                     Yes      No
                                                                           ~ Glassy Eyes                                                          Agreed to take blood test?                      D 0
                                                                           ~    ·Impaired Speech                                                  lmpried consent of blood test?
                                                                                                                                                                                                  □        Cl
                                                                            ~ Impaired Motor Coordination                                         Blood Test Drawn By:
                                                                                                                                                                        .,...,----,:=;-=:-,,=-:==---
                                                                            O Other Odors:                                                        □ Nurse          O Physician     O EMT O Lab Tech
 Traffic: HEAVY
 _ ~ PRIOR CONVICTIO S
                                 eather:CLOUOY
                                                           Asa
                                                         •Felony
                                                                                                    ------------
                                                                            ~ Performance of Field Test(s)O                 Refused
                                                                                                                                                  O Court ordered blood test:
                                                                                                                                                  Judge: ·
 Sections         How Many ,              Last Date
                                                                                                                       Fail Pass Clues                      o71
                                                                                                                                                  Loeatio=-n""! 1a
                                                                                                                                                                "'b
                                                                                                                                                                  = ro""r""
                                                                                                                                                                         a"'na"'ly"'s"'is"":- - - - - - - - -
  1192.1          2           , 10/19/2015
                                                                            ~ Horizontal Gaze Nystagmus
                                                                                                                        ~ □              6
                                                                                                                                                   O                O
                                                            □
 .1 192.2
                                                                            ~ Walk and Tum                             ~-D               8
                                                                                                                                                         Refusal           No Test Administered

                                                            □                                                                                 I
  1192.2(a)
                                                                            ~ One Leg Stand
 1192.2(a)(a)
                                                            □.                                                          ~□               4         7. PRESENT CHARGES:
                 ----                                       □
                                                                            ~ Romberg Balance
                                                                                                                        ~□                                                                               1192.1
 1192.2(a)(b)
  1192.3         ----                                       □
                                                                            O    Finger_to Nose
                                                                                                                        □. □
                                                                                                                                                   0    -0WAJ
                                                                                                                                                   O OWi 0.08% BAC or Greater                      .     1192.2
                                                                            O Finger Count                                                         IV! AGGRAVATED DWI
  1192.4
                                                            □                                                           □□                         II FELONY DWI - CHILD IN VEHICLE
                                                                                                                                                                                                         1192.2(a)(a)

                                                          ·□                                                            □□
  1192.4(a)                                                                 O    Reciting the Alphabet                                                                                                    1192.2(a)(b)
                                                                                                                                                   [ ) DWI INTOX                      .                 . 1192.3
  1192.5
                                                            □               OC?ther:
                                                                                         -------                        □□                         0     DWAJDRUGS                                       1192.4
                                                            □               ~ Defendant Disabled
  1192.6
Out of State
                                                            □
                                                                                              NONE
                                                                                                           ---- - ----                             D COMBINED INFLUENCE
                                                                                                                                                   0     C MV w/ Hazmat 0.04% - 0.06% BAC
                                                                                                                                                                                                         1192.4(a)
                                                                                                                                                                                                         1192.5
                                                                           B. Admissions By The Defendant

                                                                            0    Oral (see Number 9)
                                                                                                                                                   D CMV w/Hazmat0.06%-0.08%BAC 1192.6
                                                                            Q    Conduct.       Q    Screening Test Refusal
                                                                                                                                                   D Felony 0.08% BAC or Greater
                                                                                                                                                                           (1192.2and 1193. 1(c)J
  ~ Erratic Operation:           J
                                 0

     UNABLE TO MAI TAIN LANE, 41 MPH IN                                                         0    Chemical Test Refusal
                                                                                                                                                   O Felony DWI ·          (1192.3 and 1193.1(c)I
                                                                                                                                                   0     Consumed Alcohol-Under 21                     [1192.a)
     65 MPH ZONE _,1                                                                            0    Resisted Apprehension                         n-~ Other VTL Violation(s)             .
  ~ VTL Violation of Secti r(s):                                           .0    Other: _ __            _ _ _ _ _ _ __

        1128A                    i                                          C. Other Evidence as Follows:
                                                                            O Open Container of an Alcoholic Beverage                              O Other Offense(s)
  O Accident: O Prope Damage O                          Injury
   O Injury to 0111ei Iha Jonver                                            O Drug Paraphernatia
   O "SPI" (Serious Ph ical Injury)                                         O Positive Breath Screening Test                                       O Current SuspJRevoc (Sec. 511)
      n •o"      Fatality            J                                                   Time:
                                                                                                                                                  I
  OCivilian Complaint                                                       O Civilian Witness(es)
                                                                            o ·other: _ _ _ __ _ _ _ __ _ _
                                                                                                                                                       8. VERIFICATION:.
                                                                                                                                                   False Statements made ·herein are punishable as a
                                                                                                                                                                                                                     I
   □ Roadblock                                                                                                                                     Class ·A· m isdemeanor pursuant to Section 210.45 of
  0    Other:   - - - --i:,_______ _ ;. .                                                                                                          the Penal Law.

 Time of Stop:              09: 3
                                                                           j s. NO ALCOHC>L AFTER STOP SHOWN BY:                                   NEW YORK STATE POLICE
                                                                                                                                                   Police Agency
  3. V EHICLE OPERATI N SHOWN BY:                                           ~ Continual POiice Observation


   l~ Complainant's Observ :ions ·                                          O Admissions (See Number 9)
   O Clvirtan Wltness(es) Id ;ntification                                   O Civilian Witnesses
   n   Admissions (see Num : 9)
   Ed Further Observations           s fotlows:
                                                                            O Video
                                                                            O Other: _ _ __ _ _ _ __                             _ _ __
                                                                                                                                                   Arresting Officer (S ignature)

                                                                                                                                                         KIMBERLY            M                COLTON
                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                    I
       ~ Defendant at the-           i el                                                                                                          Arresting o fficer (Pnnt Name)

       ~ Defendant near th
                                     .l
                                          ehide
                                                                           , 6 . CHEMICAL TEST INFORMATION

                                                                                                22:28
                                                                                                                                                   1200                         T             3           11                J
                                                                                                                                                                                                                            r
       ~ Keys in the lgnijiol]
       ~ Motor Running               ll
                                               .
                                                                            Time of Test:
                                                                                                ------------------
                                                                            Location ofTest. SP SCH_UYLER

     O Defendant Injured '/1 Crash                                          Witness to Test         SGT. SCHEL L

   Oother:                ~ •                                                                                                                                                                                        1/
                                                                                                     1-0010
                                     ~                                                                                                                                                                            f' . ;.
                                     ~                                                                                                                                                                               ~          -
